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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

EUGENE GELLER, Individually and on    )
                                      )
Behalf of All Others Similarly Situated,
                                      )
                  Plaintiff,          )
                                      ) Case No. 1:18-cv-01110-VAC-MPT
      v.                              )
                                      )
COTIVITI HOLDINGS, INC., DAVID L.     )
SWIFT, JAMES E. PARISI,               )
CHRISTOPHER PIKE, RUBE JOSE KING- )
SHAW, JR., R. HALSEY WISE, KENNETH )
R. GOULET, JOHN MALDONADO, J.         )
DOUGLAS WILLIAMS, MALA ANAND, )
                                      )
and ELIZABETH CONNOLLY
                                      )
ALEXANDER,
                                      )
                                      )
                          Defendants.
                                      )



    PLAINTIFF’S NOTICE OF WITHDRAWAL OF MOTION FOR PRELIMINARY
                             INJUNCTION

       Plaintiff Eugene Geller (“Plaintiff”), by and through his counsel, hereby withdraws his

Motion for Preliminary Injunction (“Injunction Motion) (ECF No. 4).

       1.      On July 23, 2018, Defendants1 caused a Definitive Proxy Statement on Schedule

14A (the “Proxy”) to be filed with the Securities and Exchange Commission (“SEC”) in

connection with the proposed merger of Cotiviti with Verscend Technologies, Inc., an affiliate of

Veritas Capital.

       2.      On July 27, 2018, Plaintiff filed his complaint (ECF No. 1) alleging that Defendants

omitted material information from the Proxy, including certain financial information and material


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        Defendants are defined as Cotiviti Holdings, Inc. (“Cotiviti” or the “Company”), David L.
Swift, James E. Parisi, Christopher Pike, Rube Jose King-Shaw, Jr., R. Halsey Wise, Kenneth R.
Goulet, John Maldonado, J. Douglas Williams, Mala Anand, and Elizabeth Connolly Alexander.
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information regarding the sale process leading up to the Proposed Merger. Shortly after, Plaintiff

also filed the Injunction Motion requesting that the Court enjoin the August 24, 2018 stockholder

vote on the Proposed Merger until Defendants have corrected the Proxy.

       3.      After engaging in arm’s length negotiations to attempt to resolve the claims raised

by Plaintiff, Defendant Cotiviti filed a Schedule 14A on August 10, 2018, which amended the

Proxy and mooted the claims raised in Plaintiff’s Complaint and formed the bases for the

Injunction Motion.

       4.      As a result, Plaintiff no longer intends to request a preliminary injunction and

respectfully withdraws the Injunction Motion and seeks to vacate the briefing schedule and all

related deadlines.

       5.      Plaintiff’s counsel has conferred with counsel for the Defendants, and Defendants’

counsel have no objection to the withdrawal of the Injunction Motion.



Dated: August 13, 2018

                                                    Respectfully submitted,

                                                    FARUQI & FARUQI, LLP

 OF COUNSEL:                                        By: /s/ Michael Van Gorder
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 Counsel for Plaintiff



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